     Case 2:05-bk-16100-ES              Doc 32-1 Filed 07/22/05 Entered 07/22/05 00:00:00                               Desc
                                          Main Document Page 1 of 1
            UNITED STATES BANKRUPTCY COURT
                                   Central District of California
 Debtor(s) Name:                                                     For Court Use Only                       FILED

WILLIAMS, VERONICA
                                                                                                          JUL 22 2005

                                                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                      BY    LLI       DEPUTY CLERK


Chapter:       7
Case Number: LA05-16100-ES                                            ORDER CLOSING CASE

           Order of Discharge in the above referenced case was entered on 07/06/2005, and notice was
           provided to parties in interest. Since it appears that no further matters are required that this case
           remain open, or that the jurisdiction of this Court continue, it is ordered that the Trustee is discharged
           from his/her duties in this case, his/her bond is exonerated, and the case is closed.



                                                           By Order of the United States Bankruptcy Court



                                                           Jon D. Ceretto
            Date: 07/22/2005
                                                           Clerk of Court




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